
688 S.E.2d 20 (2006)
Betty CHATMON
v.
NORTH CAROLINA DEPARTMENT OF HEALTH AND HUMAN SERVICES.
No. 42P06.
Supreme Court of North Carolina.
April 6, 2006.
Belinda A. Smith, Assistant Attorney General, for NCDHHS.
Stanley B. Sprague, Greensboro, for Betty Chatmon.
Prior report: 175 N.C.App. 85, 622 S.E.2d 684.

ORDER
Upon consideration of the conditional petition filed on the 6th day of February 2006 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed as moot by order of the Court in conference, this the 6th day of April 2006."
